     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 1 of 25
                                                 ELECTRONICALLY FILED
                                                     2021 Apr 13 PM 5:13
                                      CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                CASE NUMBER: 2021-CV-000230

          IN THE CIRCUIT COURT OF WYANDOTTE COUNTY, KANSAS
                                 CIVIL DEPARTMENT                                               A
                            (Pursuant to K.S.A. Chapter 60)
ADELAIDA CHAVEZ                         )
                                        )
             Plaintiff,                 )
                                        )
vs.                                     )
                                        )
ROBERT JERNIGAN                         )
32913 Hamilton Road                     )
Wanette, OK 74878                       )
                                        )            Case No.:
and                                     )
                                        )            Division:
C & L TRUCKING, LLC                     )
      Serve:                            )
      Odessa Gouker                     )
      700 Mitchell Road                 )
      Tecumseh, OK 74873                )
                                        )
and                                     )
                                        )
SPIRIT COMMERCIAL INSURANCE )
      Serve:                            )
      Risk Services                     )
      2233 Wisconsin Avenue NW          )
      Suite 310                         )
      Washington, DC 20007              )
                                        )
                     Defendants.        )

       COMES NOW Plaintiff by and through her attorney of record, Tarak Alexander Devkota

of the Devkota Law Firm, LLC and states and avers as follows:

                                          PARTIES
       1.     Plaintiff Adelaida Chavez is an individual over the age of 18 and a resident of

Jackson County, Missouri.
      Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 2 of 25




       2.      Defendant Robert Jernigan is an individual over the age of 18 and a resident of

Pottawatomie County, Oklahoma. He can be served at 32913 Hamilton Road, Wanette,

Oklahoma 74878.

       3.      Defendant C&L Trucking, LLC, is a trucking company authorized to transport

goods in the state of Kansas. C&L Trucking, LLC, can be served through their registered agent,

Odessa Gouker at 700 Mitchell Road, Tecumseh, Oklahoma 74873.

       4.      Defendant Spirit Commercial Insurance is an insurance company doing business

in the State of Oklahoma. Service of process can be affected on Spirit by serving Risk Services,

2233 Wisconsin Avenue NW, Suite 310, Washington, D.C. 20007.

       5.      Defendant Spirit conducts routine and systematic business with companies that

operate throughout the United States, including contracting with C&L Trucking, LLC.

       6.      At the time of the accident, Robert Jernigan was acting within the course and

scope of his employment with C&L Trucking, LLC.

       7.      Spirit Commercial Insurance was the insurance carrier for C&L Trucking, LLC at

the time of the accident. All actions of Robert Jernigan, while acting within the course and scope

of his employment with C&L Trucking, LLC was insured by Spirit Commercial Insurance.

       8.      Venue is proper under K.S.A. § 60-603(1)-(3), since Plaintiff Adelaida Chavez

suffered injuries as a result of this motor vehicle collision in Wyandotte County, Kansas.

                            FACTS COMMON TO ALL COUNTS

       9.      Plaintiff, Adelaida Chavez was involved in a severe car accident on April 14,

2019. Plaintiff was traveling as a passenger in a grey 2007 Kia SPC eastbound on I-70.
      Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 3 of 25




        10.     Plaintiff was in the second lane when Jernigan struck the left, rear side of the

vehicle she was riding in, causing the vehicle to spin. The vehicle spun out and struck the inside

barrier wall.

        11.     Defendant(s) had a contractual obligation to compensate plaintiff for bodily injury

arising from the collision.

        12.     As a direct and proximate result of Mr. Jernigan’s negligence, while acting within

the course and scope of his employment with C&L Trucking, LLC, Plaintiff sustained injuries,

including but not limited to the following:

        a.      Plaintiff presented to Truman Medical Center complaining of pain in her knees,

right shoulder, and neck. Upon inspection, it was found that she was suffering from a 6cm

descending Thoracic Aortic Aneurysm. Due to the severity of her symptoms, she underwent a

CT of her spine, elbow, knees, chest, neck, and head. The results came back with a right adrenal

mass for which surgery was consulted. It was also noted that she had a hiatal hernia.

        b.      Plaintiff returned to the ER on April 16, 2019, with complaints of dizziness and

headaches. She also complained of nausea and loss of appetite. She was admitted to the

hospital. During her admission, it was discovered that she had a 4.2 cm mass close to her right

thyroid node and a 9mm mass on her left thyroid node. She ultimately underwent a

thyroidectomy.

        c.      On April 24, 2019, plaintiff had a thoracic endovascular aortic repair. This

surgery was to repair the aneurysm she had in her aorta. As a result of the accident, plaintiff also

suffered a stroke.
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 4 of 25




       d.      On June 13, 2019, plaintiff sought treatment at United Medical Logistics. She

was diagnosed with the following:

               i.      Post-traumatic stress disorder;

               ii.     pain in right and left shoulder;

               iii.    pain in right and left knee;

               iv.     Cervicalgia;

               v.      lower back pain;

               vi.     pain in the thoracic spine;

               vii.    segmental and somatic dysfunction of the head, cervical, thoracic, lumbar,

sacral, pelvic, and abdominal regions;

               viii.   headaches;

               ix.     concussion;

               x.      sprain of ligaments of the cervical and lumbar spine; and

               xi.     sprain of the right and left shoulder joint.

                                     COUNT I NEGLIGENCE

       13.     Plaintiff herein incorporates by reference each and every averment contained or

implied within the above paragraphs 1-12 of her Petition for Damages as if fully set out.
      Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 5 of 25




       14.     The motor vehicle collision and plaintiff’s complaints, injuries, and damages are

the direct and proximate result of defendant Jernigan and defendant C&L Trucking, LLC’s

actions and omissions and violations of one or more of the following:

               a.       In failing to exercise the highest degree of care;

               b.       In failing to keep a careful lookout;

               c.       In failing to maintain proper control of a vehicle;

               d.       Defendant(s) knew of by the use of the highest degree of care should have

known that there was a reasonable likelihood of a collision. Defendant Jernigan acting within his

scope and nature of his employment with C&L, LLC, should have swerved or sounded a

warning, but Jernigan failed to do so.

       15.     That as a direct and proximate result of the negligence of defendant(s) Jernigan

and C&L Trucking, LLC, plaintiff has been caused to experience and incur physical injury.

       16.     Due to this negligence, plaintiff has incurred medical expenses, loss of enjoyment

of life, pain and suffering, and mental anguish. Said injuries being permanent, progressive, and

continuous in nature.

       17.     That as a further direct and proximate result of the negligence of defendant(s)

Jernigan and C&L Trucking, LLC, plaintiff sustained medical bills and is reasonably certain to

suffer in the future additional losses as well as ongoing pain and suffering.

       WHEREFORE, Plaintiff prays for judgment against defendant(s) Jernigan and C&L

Trucking, LLC for an amount in excess of $1,000,000.00, together with all other relief that the
      Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 6 of 25




Court deems just and proper, as well as costs and expenses incurred in the prosecution of this

claim.



                         COUNT II VEXATIOUS REFUSAL TO PAY
         18.   Plaintiff herein incorporates by reference each and every averment contained or

implied within the above paragraphs 1-17 of her Petition for Damages as if fully set out.

         19.   C&L Trucking, LLC’s policy of insurance through Sprit Commercial Insurance

provided insurance coverage for injuries sustained by plaintiff in the motor vehicle collision on

or about April 14, 2019.

         20.   Plaintiff demanded that defendant(s) issue payment for the injuries arising from

the motor vehicle collision.

         21.   Spirit has refused to provide adequate payment to plaintiff for her pain and

suffering. Spirit’s refusal and delay are vexatious, unreasonable, dilatory, and without

reasonable cause or excuse.

         19.   Pursuant to K.S.A. 40-256, Spirit is liable for interest from and after the date of

the submission of the claim, penalties as provided by statute, costs of suit, and reasonable

attorney's fees for vexatious refusal to pay, and plaintiff hereby requests an award of attorney's

fees as well as any and all statutory interest, costs, fees, penalties, and awards provided for

vexatious refusal to pay.

         WHEREFORE, plaintiff prays for judgment against Spirit Commercial Insurance for

such damages that are fair and reasonable, for their costs incurred herein, and for attorney's fees.
Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 7 of 25




                              Respectfully submitted,

                              DEVKOTA LAW FIRM, LLC
                              _/s/ Tarak Alexander Devkota__________
                              Tarak A. Devkota      KS# 19767
                              4010 Washington Street, Suite 350
                              Kansas City, MO 64111
                              Telephone: (816) 842-9100
                              Facsimile: (816) 888-8780
                              E-Mail: litiation@devkotalawfirm.com
                              ATTORNEYS FOR PLAINTIFF
               Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 8 of 25
                                                              ELECTRONICALLY FILED
                                                                 2021 Apr 13 PM 5:13
Adelaida Chavez                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                            CASE NUMBER: 2021-CV-000230
vs.
Robert Jernigan et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    C&L Trucking LLC
                                    Odessa Gouker, 700 Mitchell Road
                                    Tecumseh, OK 74873


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Tarak Alexander Devkota
                                    4010 Washington Street
                                    Suite 350
                                    Kansas City, MO 64111


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 04/14/2021 08:57:45 AM


Documents to be served with the Summons:
               Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 9 of 25
                                                              ELECTRONICALLY FILED
                                                                 2021 Apr 13 PM 5:13
Adelaida Chavez                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                            CASE NUMBER: 2021-CV-000230
vs.
Robert Jernigan et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    Robert Jernigan
                                    32913 Hamilton Road
                                    Wanette, OK 74878


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Tarak Alexander Devkota
                                    4010 Washington Street
                                    Suite 350
                                    Kansas City, MO 64111


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 04/14/2021 08:57:45 AM


Documents to be served with the Summons:
              Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 10 of 25
                                                              ELECTRONICALLY FILED
                                                                 2021 Apr 13 PM 5:13
Adelaida Chavez                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                            CASE NUMBER: 2021-CV-000230
vs.
Robert Jernigan et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    Spirit Commercial Insurance
                                    2233 WISCONSIN AVE., SW, Suite 310
                                    Washington, DC 20007


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Tarak Alexander Devkota
                                    4010 Washington Street
                                    Suite 350
                                    Kansas City, MO 64111


within 40 days after service of summons on you.




Clerk of the District Court
Electronically signed on 04/14/2021 08:57:45 AM


Documents to be served with the Summons:
      Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 11 of 25
                                                       ELECTRONICALLY FILED
                                                       2021 Jun 10 AM 11:40
                                         CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                   CASE NUMBER: 2021-CV-000230

              IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS

ADELAIDA CHAVEZ                                )
                                               )
                Plaintiff,                     )
                                               )
vs.                                            )
                                               )
ROBERT JERNIGAN                                )
32913 Hamilton Road                            )
Wanette, OK 74878                              )
                                               )               Case No.: 2021-CV000230
and                                            )               Div.:     2
                                               )
C & L TRUCKING, LLC                            )
      Serve:                                   )
      Odessa Gouker                            )
      700 Mitchell Road                        )
      Tecumseh, OK 74873                       )
                                               )
and                                            )
                                               )
SPIRIT COMMERCIAL INSURANCE                    )
      Risk Services                            )
      2233 Wisconsin Avenue NW                 )
      Suite 310                                )
      Washington, DC 20007                     )
                                               )
                        Defendants.            )

                                      AMENDED PETITION

         COMES NOW Plaintiff by and through her attorney of record, Tarak Alexander Devkota of

the Devkota Law Firm, LLC and states and avers as follows:

                                              PARTIES
         1.     Plaintiff Adelaida Chavez is an individual over the age of 18 and a resident of

Jackson County, Missouri.

         2.     Defendant Robert Jernigan is an individual over the age of 18 and a resident of

Pottawatomie County, Oklahoma. He can be served at 32913 Hamilton Road, Wanette, Oklahoma

74878.


                                                   1
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 12 of 25




        3.      Defendant C&L Trucking, LLC, is a trucking company authorized to transport goods

in the state of Missouri. C&L Trucking, LLC, can be served through their registered agent, Odessa

Gouker at 700 Mitchell Road, Tecumseh, Oklahoma 74873.

        4.      Defendant Spirit Commercial Insurance is an insurance company doing business in

the State of Oklahoma. Service of process can be affected on Spirit by serving Risk Services, 2233

Wisconsin Avenue NW, Suite 310, Washington, D.C. 20007.

        5.      Defendant Spirit conducts routine and systematic business with companies that

operate throughout the United States, including contracting with C&L Trucking, LLC.

        6.      At the time of the accident, Robert Jernigan was acting within the course and scope of

his employment with C&L Trucking, LLC.

        7.      Spirit Commercial Insurance was the insurance carrier for C&L Trucking, LLC at the

time of the accident. All actions of Robert Jernigan, while acting within the course and scope of his

employment with C&L Trucking, LLC was insured by Spirit Commercial Insurance.


        8.      Venue is proper due to the fact that the events described herein occurred in

Wyandotte County, Kansas.

                              FACTS COMMON TO ALL COUNTS

        6.      Plaintiff, Adelaida Chavez was involved in a severe car accident on April 14, 2019.

Plaintiff was traveling as a passenger in a grey 2007 Kia SPC eastbound on I-70.

        7.      Plaintiff was in the second lane when Jernigan struck the left, rear side of the vehicle

she was riding in, causing the vehicle to spin. The vehicle spun out and struck the inside barrier wall.

        8.      Defendant(s) had a contractual obligation to compensate plaintiff for bodily injury

arising from the collision.

                                                   2
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 13 of 25




        9.      As a direct and proximate result of Mr. Jernigan’s negligence, while acting within the

course and scope of his employment with C&L Trucking, LLC, Plaintiff sustained injuries, including

but not limited to the following:

                a.      Plaintiff presented to Truman Medical Center complaining of pain in her

                        knees, right shoulder, and neck. Upon inspection, it was found that she was

                        suffering from a 6cm descending Thoracic Aortic Aneurysm. Due to the

                        severity of her symptoms, she underwent a CT of her spine, elbow, knees,

                        chest, neck, and head. The results came back with a right adrenal mass for

                        which surgery was consulted. It was also noted that she had a hiatal hernia.

                b.      Plaintiff returned to the ER on April 16, 2019, with complaints of dizziness

                        and headaches. She also complained of nausea and loss of appetite. She was

                        admitted to the hospital. During her admission, it was discovered that she had

                        a 4.2 cm mass close to her right thyroid node and a 9mm mass on her left

                        thyroid node. She ultimately underwent a thyroidectomy.

                c.      On April 24, 2019, Plaintiff had a thoracic endovascular aortic repair. This

                        surgery was to repair the aneurysm she had in her aorta. As a result of the

                        accident, Plaintiff also suffered a stroke.

                d.      On June 13, 2019, Plaintiff sought treatment at United Medical Logistics.

                        She was diagnosed with the following:

                        i.      Post-traumatic stress disorder;

                        ii.     pain in right and left shoulder;

                        iii.    pain in right and left knee;


                                                    3
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 14 of 25




                       iv.     Cervicalgia;

                       v.      lower back pain;

                       vi.     pain in the thoracic spine;

                       vii.    segmental and somatic dysfunction of the head, cervical, thoracic,

                               lumbar, sacral, pelvic, and abdominal regions;

                       viii.   headaches;

                       ix.     concussion;

                       x.      sprain of ligaments of the cervical and lumbar spine; and

                       xi.     sprain of the right and left shoulder joint.

                                     COUNT I NEGLIGENCE

       10.     Plaintiff herein incorporates by reference each and every averment contained or

implied within the above paragraphs 1-9 of her Petition for Damages as if fully set out.

       11.     The motor vehicle collision and Plaintiff’s complaints, injuries, and damages are the

direct and proximate result of defendant Jernigan and defendant C&L Trucking, LLC’s actions and

omissions and violations of one or more of the following:

               a.      In failing to exercise the highest degree of care;

               b.      In failing to keep a careful lookout;

               c.      In failing to maintain proper control of a vehicle;

               d.      Defendant(s) knew of by the use of the highest degree of care should have

                       known that there was a reasonable likelihood of a collision. Defendant


                                                   4
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 15 of 25




                        Jernigan acting within his scope and nature of his employment with C&L,

                        LLC, should have swerved or sounded a warning, but Jernigan failed to do so;

                        and

                e.      Otherwise, driving in a negligent manner.

        12.     That as a direct and proximate result of the negligence of Defendant(s) Jernigan and

C&L Trucking, LLC, Plaintiff has been caused to experience and incur physical injury.

        13.     Due to this negligence, Plaintiff has incurred medical expenses, loss of enjoyment of

life, pain and suffering, and mental anguish. Said injuries being permanent, progressive, and

continuous in nature.

        14.     That as a further direct and proximate result of the negligence of defendant(s)

Jernigan and C&L Trucking, LLC, Plaintiff sustained medical bills and is reasonably certain to suffer

in the future additional losses as well as ongoing pain and suffering.

        WHEREFORE, Plaintiff prays for judgment against defendant(s) Jernigan and C&L

Trucking, LLC for an amount in excess of $1,000,000.00, together with all other relief that the Court

deems just and proper, as well as costs and expenses incurred in the prosecution of this claim.

                                   COUNT II NEGLIGENCE PER SE

        15.     Plaintiff herein incorporates by reference each and every averment contained or

implied within the above paragraphs 1-14 of her Petition for Damages as if fully set out.

        16.     The motor vehicle collision and Plaintiff’s complaints, injuries, and damages are the

direct and proximate result of Defendant’s actions, omissions, and violations of one ore more of the

following statutes respectively:




                                                   5
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 16 of 25




                a.      Defendants failed to follow Kansas Rules of the Road. See generally, K.S.A.

                        §8-1501; 8-1514.:

                b.      Defendant failed to keep a careful lookout;

                c.      Defendant failed to yield the right-of-way; and

                d.      Defendant’s inattentive driving led to this auto accident.

          17.   The above statute(s) is/are intended to protect Kansas citizens, motorists, passengers,

and pedestrians from, such improper motor vehicle operation(s).

          18.   At the time of this auto accident, Defendant violated one or more of the above-

mentioned statutes; in that, Plaintiff was a driver and in a motor vehicle on a Kansas roadway. Each

belong to a class of persons that the State of Kansas intends such statutes to protect. Defendant’s lack

of care and inattention in driving on the roadway in violation of the restrictions and/or the above

inattention directly caused or contributed to cause Plaintiff severe, permanent, and progressive

injuries and damages described herein.

          19.   As a direct and proximate cause of Defendant’s actions, omissions, and/or other

negligence, Plaintiff sustained the above severe, permanent, and debilitating injuries, permanent

damages, and other losses.

          20.   As a direct and proximate cause of Defendant’s actions, omissions, and/or other

negligence, Plaintiff also suffered loss of enjoyment of life and other damages for duties under

duress.

          21.   Plaintiff has incurred expenses in relation to the diagnosis and treatment of these

injuries and will continue to incur such expenses in the future; the exact amount of such expenses is

unknow at this time.


                                                   6
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 17 of 25




          22.    As a further direct and proximate case of Defendant’s actions, omissions, and/or other

negligence, Plaintiff also received extensive medical care, treatment, suffered pain and bodily injury.

They will continue to need medical care and treatment in the future.

          WHEREFORE, Plaintiff prays that this Court will grant judgment in their favor on Count II

for Negligence Per Se against Defendant and award such damages that are fair and reasonable,

totaling in excess of $1,000,000.00 together with interest, for an award for the costs of this action,

and for all other appropriate and further relief the Court deems just and proper.

                           COUNT III VEXATIOUS REFUSAL TO PAY
          23.    Plaintiff herein incorporates by reference each and every averment contained or

implied within the above paragraphs 1-22 of her Petition for Damages as if fully set out.

          24.    C&L Trucking, LLC’s policy of insurance through Sprit Commercial Insurance

provided insurance coverage for injuries sustained by plaintiff in the motor vehicle collision on or

about April 14, 2019.

          25.    Plaintiff demanded that defendant(s) issue payment for the injuries arising from the

motor vehicle collision.

          26.    Spirit has refused to provide adequate payment to plaintiff for her pain and suffering.

Spirit’s refusal and delay are vexatious, unreasonable, dilatory, and without reasonable cause or

excuse.

          27.    Spirit is liable for interest from and after the date of the submission of the claim,

penalties as provided by statute, costs of suit, and reasonable attorney's fees for vexatious refusal to

pay, and plaintiff hereby requests an award of attorney's fees as well as any and all statutory interest,

costs, fees, penalties, and awards provided for vexatious refusal to pay.



                                                     7
     Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 18 of 25




        WHEREFORE, Plaintiff prays for judgment against Spirit Commercial Insurance for such

damages that are fair and reasonable, for their costs incurred herein, and for attorney's fees.

                                           JURY DEMAND


        Pursuant to K.S.A. §60-238(b)(1), Plaintiff’s request trial by jury on all issues so triable.

                                                 Respectfully submitted,

                                                 DEVKOTA LAW FIRM, LLC
                                                 _/s/ Tarak Alexander Devkota__________
                                                 Tarak A. Devkota      KS# 19767
                                                 4010 Washington Street, Suite 350
                                                 Kansas City, MO 64111
                                                 Telephone: (816) 842-9100
                                                 Facsimile: (816) 888-8770
                                                 E-Mail: litigation@devkotalawfirm.com
                                                 ATTORNEY FOR PLAINTIFF




                                                    8
       Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 19 of 25
                                                    ELECTRONICALLY FILED
                                                       2021 Jun 10 AM 11:40
                                         CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                   CASE NUMBER: 2021-CV-000230

            IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS
                              CIVIL DEPARTMENT
                           (Pursuant to K.S.A. Chapter 60)

 ADELAIDA CHAVEZ,                                     )
           Plaintiff,                                 )
                                                      )       Case No.: 2021-CV-000230
 vs.                                                  )
                                                      )
                                                      )
 ROBERT JERNIGAN et al,                               )
           Defendants.                                )


                PLAINTIFF’S FIRST MOTION FOR EXTENSION OF TIME

       COMES NOW, Plaintiff Adelaida Chavez, by and through her attorney of record, Tarak

Alexander Devkota, and hereby requests the Honorable Court to grant an additional 30-day

extension of time to obtain service on Defendants. This motion is not meant to delay this case.

Plaintiff is filed amended petition on June 10th, 2021 and needs additional time to finalize proper

service.



                                                     Respectfully Submitted,

                                                     DEVKOTA LAW FIRM, LLC
                                                     /s/Tarak Alexander Devkota
                                                     Tarak Alexander Devkota, KS #19767
                                                     4010 Washington St., Ste. 350
                                                     Kansas City, MO 64111
                                                     (816)842-9100 – Phone
                                                     (816-817-1080 – Fax
                                                     litigation@devkotalawfirm.com
                                                     ATTORNEY FOR PLAINTIFF
 Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 20 of 25
                                                             ELECTRONICALLY FILED
                                                             2021 Jun 10 PM 12:27
                                               CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2021-CV-000230




Court:                     Wyandotte County District Court

Case Number:               2021-CV-000230

Case Title:                Adelaida Chavez vs. Robert Jernigan, et al.

Type:                      Order



                                                       SO ORDERED.




                                                       /s/ Honorable Constance M. Alvey, District Court
                                                       Judge


Electronically signed on 2021-06-10 12:27:19   page 1 of 2
      Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 21 of 25




          IN THE DISTRICT COURT OF WYANDOTTE COUNTY, KANSAS
                            CIVIL DEPARTMENT
                         (Pursuant To K.S.A. Chapter 60)

ADELAIDA CHAVEZ,                                   )
          Plaintiff,                               )
                                                   )       Case No.: 2021-CV-000230
vs.                                                )       Div.: 2
                                                   )
                                                   )
ROBERT JERNIGAN et al,                             )
          Defendants.                              )


                                           ORDER

       Plaintiff’s Motion for Extension of Time to Obtain Service is Granted this _____ day of
June 2021.




___________________________                        _________________________________
Date                                               Judge Constance Alvey
               Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 22 of 25
                                                              ELECTRONICALLY FILED
                                                                2021 Jun 10 AM 11:40
Adelaida Chavez                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                            CASE NUMBER: 2021-CV-000230
vs.
Robert Jernigan, et al. et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    C&L Trucking LLC
                                    Odessa Gouker, 700 Mitchell Road
                                    Tecumseh, OK 74873


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Tarak Alexander Devkota
                                    4010 Washington Street
                                    Suite 350
                                    Kansas City, MO 64111


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 06/10/2021 11:50:21 AM


Documents to be served with the Summons:
PLE: Amended Petition Plaintiff's First Amended Petition
               Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 23 of 25
                                                              ELECTRONICALLY FILED
                                                                2021 Jun 10 AM 11:40
Adelaida Chavez                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                            CASE NUMBER: 2021-CV-000230
vs.
Robert Jernigan, et al. et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    Spirit Commercial Insurance
                                    2233 WISCONSIN AVE., SW, Suite 310
                                    Washington, DC 20007


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Tarak Alexander Devkota
                                    4010 Washington Street
                                    Suite 350
                                    Kansas City, MO 64111


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 06/10/2021 11:50:21 AM


Documents to be served with the Summons:
PLE: Amended Petition Plaintiff's First Amended Petition
               Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 24 of 25
                                                              ELECTRONICALLY FILED
                                                                2021 Jun 10 AM 11:40
Adelaida Chavez                                   CLERK OF THE WYANDOTTE COUNTY DISTRICT COURT
                                                            CASE NUMBER: 2021-CV-000230
vs.
Robert Jernigan, et al. et. al.
                                                      SUMMONS


                              Chapter 60 - Service by Attorney or Process Server

To the above-named Defendant/Respondent:


                                    Robert Jernigan
                                    32913 Hamilton Road
                                    Wanette, OK 74878


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Tarak Alexander Devkota
                                    4010 Washington Street
                                    Suite 350
                                    Kansas City, MO 64111


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 06/10/2021 11:50:21 AM


Documents to be served with the Summons:
PLE: Amended Petition Plaintiff's First Amended Petition
Case 2:21-cv-02318-HLT-JPO Document 1-1 Filed 07/21/21 Page 25 of 25
